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IN 'I`HE UNITED STATES DISTRIC'I‘ COURT
NOR'IHEIRN DISTRICI‘ OF ILLINOIS
EASTERN DIVISION

COIVHVIITI’EE FOR A FAIR AND BALANCED

MAP, et al.,
Plaintiffs,
VS.

ILLINOIS STATE BOARD OF
et al.,

Defendants.

EIECI`IONS ,
Chicagc, Illinois
October 20, 2011

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) No. 11 C 5065
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> 9=30 A.M.

'I`RANSCRIPI‘ OF' PROCEEDINGS - MOtiOIl
BEFORE THE HONORABIE JOAN HUMPHREY LEFKOW

APPEARANCES :

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For the Defendants:

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(Proceedings had in open court.)

'IHE CIERK: 11 C 5065, Committee For A Fair And
Balanced Map versus Illinois State Board of Elections.

MS. LIGHTFOO’I': Good morning your Honor. Lori
Lightfoot and 'I‘om Panoff on behalf of the plaintiffs

'IHE COURT: Good morning

MR. BRUCE: Good morning your Honor. Devon Bruce on
behalf of the defendants.

THE COURT: Good morning

MR. ROSENBIATT: Good nbrning, your Honor. Jon
Rosenblatt from the Office of the Illinois Attorney General on
behalf of defendants.

‘IHE} COURT: Okay. Good morning

All right. The Committee wants to take three
depositions. And the issues are timeliness and relevance.

MR. BRUCE: Timeliness, relevancy, and prejudice, your
Honor.

THEI COURT: And prejudice. Okay.

Well, let's start with the movants.

MR. BRUCE: Certainly. Briefly, your Honor, we
had ~~ you had issued an order originally, or the panel had, on
October -- that all fact discovery was required to be done. In
fact oral depositions by October 5th. 'I‘.hat was then extended
by your order, and that was extended to October 19th.

Now taking a step back, the plaintiffs, we asked them

 

 

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who they were going to call at trial, and they identified 28
witnesses. And, you know, to be honest, Judge, we have been
very diligently trying to depose all those people.

I have tried to understand from the plaintiffs who
they are going to call at trial. Some of those people they
have said they are going to withdraw. And we have taken -- and
I listed all -- a number of those depositions that we have
taken.

Three of them, due to the plaintiffs's own schedules,
couldn't get scheduled within that time period. And for those
three as ~~ out of professional courtesy for the plaintiffs, we
said, fine, we'll take those beyond the 19th date.

We at no time ever said we would be willing to get new
witnesses which have never been identified. Congressman
Jackson, Mayor Larry Morrissey, and Congress -- Former
Congressman Lipinski have never at any time been identified in
their answers to interrogatories as trial witnesses.

And.your order required them to answer interrogatories
by September 17th, and they did. They have never amended
that. They, to my knowledge, as they stand here today, they
have identified these people as witnesses at trial.

Now with that in mind, we are trying to get all these
done by the 19th. We had Congressman Costello's deposition
yesterday at -- the end of it.

And.on Friday afternoon we get word from.plaintiffs's

 

 

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counsel for the first time that they want to take Larry
Morrissey*s deposition in Rockford. For the first time they
want to take the deposition of Congressman Jackson. And.they
want to take Congressman -- Former Congressman Lipinski's
deposition. We hear about that on Monday, keeping in mind the
deadline that this Court has already extended once, ends on
Wednesday.

All of the dates that they are suggesting are far
beyond.the date that you have ordered, your Honor. And they
are doing this without leave of Court. They are totally'doing
this in violation of court order. And nothing in their
response in.any way provides a rationale for that.

I want to get to that timeliness issue. On the
timeliness issue, from.what I read of their response, they are
saying -- and.I think this is very telling -- they are saying
these people's names just came up in the discovery deposition
transcripts and, therefore, we just found about them, And they
just came up in.the deps, and now we want to take their
depositions.

I have two responses to that, Judge, because I have
taken every one of their -- plaintiffs's United States
congressmen’s depositions where these names -- where they want
to talk about came up.

First of all, they came up in their own clients's

depositions. They claim that this is not something where I am

 

 

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putting forth a witness, and they take Mr. Smith's deposition
and they heard about Mrs. Jones. This is not the fact
pattern. These are their witnesses, their clients.

And, shockingly, what we're finding out in this case
is Mayer Brown was hired in this case before the map was even
passed. That‘s what Congressman Shimkus told me. Long before
-- Congressman Shimkus is the one that first raised in the
discovery depositions Congressman Lipinski's name. But he --
he -~ they were -- Congressman Shimkus knew back in.April when
this all came up in April. If they -- they knew about him.

So it isn't -- that's a complete red herring to say,
oh, well, they came up in our own clients's deps, and now we
want to violate the Court's order without leave of Court when
we want to take this man's deposition.

Now with respect to Larry Morrissey's, there is -~ I
looked last night before coming over here. There is a June 5th
Rockford Register Star front page article in the Rockford
Register Star where Larry Morrissey, who is the mayor of
Rockford, is in the same article as their client Don Manzullo,
Congressman Don Manzullo. And.he is expressing whatever his
opinions are, as if it matters, respectfullyy whether Mayor
Morrisseyy who has nothing to do with drawing a map. Whatever
Mayor Morrissey -~ but it is in there on June Sth.

And Congressman.Manzullo in his dep, you know,

Morrissey's name has come up, and Congressman Manzullo said, I

 

 

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talked to Larry Morrissey right after -- he is outraged --
right after the map came out, which is consistent with the June
5th -- you know, they know about these people, Judge, for
months -- months, literallyy months before we even started
fact -- written discovery.

Now with respect to Congressman Jackson, he has been
very vocal. First of all, his name has come up, as they point
out in their response, and all of their clients's depositions,
his name has come up, your Honor. Again, that's knowledge that
they had long before the map came up.

But more importantlyy they are citing newspaper
articles from ~- of Congressman Jackson from September, from
September. So why am I hearing now on, you know, three
business days -- Friday afternoon is when they say they are
going to -- they want Jackson. They are not identifying him as
a witness. They are saying, we want to go and take his
deposition on very short -- Friday, Monday, Tuesday,

Wednesday -- so three business days before your deadline
expires when they -- whey they are saying in the response, our
reasoning is we knew about it in September.

Your Honor, we're trying --

THE COURT: You have got about two more minntes.

MR. BRUCE: Okay. So that's the issue on timeliness.

THE COURT: Hold on a second.

THE CLERK: If he could just slow down because --

 

 

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THE COURT: Oh, right.

Cen.you keep up with him?

THE CLERK: I can't even --

MR. BRUCE: I was trying to hurry up. I know you have
got a courtroom full of people.

MS. LIGHTFOOT: Ms. Warren is very able.

MR. BRUCE: So with respect to prejudice, with respect
to the relevancy, your Honor, I don’t think we need to go
there. I think we win hands down on timeliness.

But on -- in terms of relevancy, this Court has
recognized, and I started -- and I -- that a lot of this is
decided on expert discovery. And.when this came up the last
time, Ms. Lightfoot identified, you know, some of these people
may talk about the -- how they actually intend -- you know,
they are actually the map drawers. None of these people are
the actual map drawers, but l don't think we need to go there.

And.then, lastlyy and.I think importantly, is
prejudice. Your Honor, if they are allowed to go and.take
this, when does it end? Okay? Do I then get the opportunity
to listen to what these people have to say, and then ~- for
example, what if Congressman Jackson says something that we
want to refute or contend with? Do I then call na --
Congressman Davis and.go and take Congressman Danny Davis's?

And.what ~- you know, what about, you know, Tim

Johnson, Representative Tim Johnson? I'd want to go and take

 

 

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his.

I mean, this just goes on and on and on. That’s why
we have deadlines, and that's why we have been trying to
comply.

Andq lastlyy and I think this is important, and we

would also, I would submit, and l put this in my papers, we may

y or may not, depending on what they say, submit that to the

experts in.this case. And.our main expert is going as soon as
we walk out of this courtroom. And so -- and.we have got to
submit that. And.then they -~ then they are going to say, we
want to go take the dep. And then we -- and why is it
relevant?

And.so, lastly, your Honor, and this is an issue that
I saw at the end of their response, which I thought was kind of
shocking and -- I'll finish with this. They seem to be
suggesting in their papers that by now throwing out subpoenas
in violation of this court order, that that is in some way a
supplement to their answers to interrogatories which were due
by court order on September 17th, and that now they are going
to call these people at trial. Should you grant my motion,
they are going to call them as trial witnesses even though they
have never told me that they are trial witnesses. And I can't
depose them.

I mean, so that seems to be suggesting they're, again,

asking this Court to -- I mean, they are willy-nilly violating

 

 

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your court orders. I mean, that ' s shocking

So I would suggest, your Honor, and we would
respectfully request, that we stop the oral fact discovery,
with the exception of ones -- and I‘m not -~ I did say that I
don' t have a problem with taking these people because, you
know, we're trying to work together and get them done. These
people can't -- these other ones I never said at any time
unidentified people who have never been identified we ' re going
to go on.

So that ' s -- thank you, your Honor.

THE COURT: All right, Ms. Lightfoot.

MS. LIGHTFOOT: Very briefly, your Honor. Here the
practical issue is this. One, I want to address a couple
points that Mr. Bruce, I think, got wrong

One is if you look at the scheduling order, the time
in which trial witnesses have to be identified is November
7th. What they did is they served us with typical discovery
saying, who do you know who has information about it? And we
answered it whenever we answered it.

We have supplemented it. And I suspect we will
probably supplement it again. We have a continuing obligation
to do so.

But the truth is the real date when people make
decisions as to when they are going to have witnesses for trial

is November 7th, which is the date in which the pretrial order

 

 

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is due.

We're sill sorting through a lot of different
information. And I don' t think the scheduling order -~ and,
frankly, in 20-plus years of practicing in front of this Court,
I don' t think that the -- a schedule of -- interrogatories or
discovery that ' s served ahead of time says that three, four
months out from when your trial is, do you have to identify
every single witness that you' re going to possibly call at
trial, particularly when you don‘t know that.

The issue that the --

TI~IE} COURT: Okay. Well, tell me how important it is
that you get these witnesses.

MS. LIGH].“FOOT: Well, I mean, here is the practical
issue, your Honor. We could have simply gotten affidavits from
these witnesses and attached them to our permanent injunction
motion, and then we would have heard a similar kind of hue and
cry about prejudice, surprise, oh, my God, this is terrible,
they should be stricken.

We thought the better course, frankly, because we
generally actually have been getting along fairly well, was to
notice them up, give everybody an opportunity to ask whatever
questions that they wanted, and then proceed that way, rather
than sirrply affixing a detailed affidavit from a witness that
neither side had previously deposed.

And if they want it that way, we can have it that

 

 

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way, But it didn't seem to make practical sense for us
because, frankly, we anticipated a bunch of motion practice
about that.

But to your issue of how important are they, let me
run through this. Number one, with respect to Mayor
Morrissey -- and also let me just preface this by saying this:
These are three -- two current and one former elected
official. Franklyy we were giving some deference and respect
to them. We didn't want to -- yeah, we -- Congressman
Lipinski's name had surfaced before, but we felt like because
we anticipated getting a motion like this, we wanted to have a
good faith basis before we, frankly, called him in and.wasted
his time.

So once we got the deposition testimony, the last of
which was on October 10th, l made arrangements to talk to
Congressman Lipinski to understand what he would say and made
the determination at that point that we would in fact depose
him.

And.then we were going back and forth with him as a
courtesy to figure out if there is a convenient time. He said,
I don't want a subpoena, just let me know if you want me, and
I'll show up whenever. That's what we did.

The next -- and then we traded phone calls back and
forth last week. I finally got a hold of him again on Monday,

He tells me Mike Kasper, one of the lawyers for the defendants

 

 

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in this case, would actually be handling things for him.

So I promptly sent an email to Mr. Kasper an ~-

'IHE COUR'I': You put that in your motion, But really
I'm focused on proof in the case --

MS. LIGH'I‘FOOT: So -- understood.

'IHE COURT: For example, Jesse Jackson has been vocal
in opposition to this map, but he didn't have -~ he didn't draw
the map.

MS. LIGHI`FOOT: Well ~-

'IHE§ C'OURT: Every congressman has a political opinion
about it.

MS. LIGHI'FOOT: Sure. But I believe, your Honor, if

~ you looked carefully at what he has said, and we have, and

obviously in talking to our clients what we understand is that
Congressman Jackson actually was involved in aspects of drawing
this map,

And I 'm mindful of the Court ' s order regarding the
motion to compel where it said, if there are irregularities in
the way in which the map was drawn ~- and I ‘m paraphrasing
obviously -~ that that ‘ s relevant.

We believe that Congressman Jackson will provide us
with information about the manner in which the process was
deviated from the norm that go to this issue of irregularity.

With respect to Congressman Morrissey, I believe he

will testify about the community of interest issue, which we

 

 

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did identify in our complaint, and.how it is that Rockford is
now divided literally in half between two separate
congressional districts. And the minority population of
Rockford now is going to be in -~ under the adopted plan going
to be on the map --

THE COURT: Now let's talk about hipinski.

MS. LIGHTFOOT: And I think Lipinski definitely goes
directly to the issue of intent. As your Honor knows, we have
alleged in our complaint with respect to Congressional District
3 in.the adopted planq if that was drawn in a way to benefit a
white incumbent. The white incumbent is Congressman Lipinski's
son.

The information has come out through.the depositions,
and other information that we have gathered, is that Congress-
-- Former Congressman Lipinski was intimately involved in
figuring out what the actual parameters of that district would
be.

THE CCURT: Okay. But how does it affect the
Hispanics? Because we all know that that's what it is all
about is for clarification of ~-

MS. LIGHTFOOT: If affects the Hispanics because, as
we allege in our complaint, and as we allege in our preliminary
injunction, and.we allege in our permanent injunction motion,
if you look at the changes between Congressional District 3,

which is on the southern part of the earmuff, and Congressional

 

 

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District 5, which is in the northern part of the earmuff, what
was done in constructing the new Congressional District 4 of
the earmuff was to excise significant portions of the Hispanic
population from CD-3 on the south and to super pack them into
CD~4. Same was done with the Hispanic population on the north
in CD-E.

And.we believe not only were they'done to pack more
Hispanics into CD~4, but also to take out Hispanic population
from CD-3 and CD~E. And.particularly --

THE COURT: Do you have any reason to believe that
there would have been a more likely -- a greater likelihood
that Hispanic -- a second Hispanic congressman or woman would
have been elected in spite of all that?

MS. LIGHI‘FOOT: Well ~-

THE COURT: Is that what you are trying to prove?

MS. LIGHTFOOT: Two things though.

THE COURT: Could have been, not would have been,

MS. LIGHTFOOT: What we believe, franklyy your Honor,
is if you look at the natural population growth in the city and
the county, in the area that CD-3 covered, that the -- and
unpacking the earmuff, it absolutely would have been close to a
majority or a majority Hispanic district.

Frankly, the alternative CD-3 that we had drawn in our
map covers exactly that territory.

THE COURT: Okay. This is my assessment after hearing

 

 

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you and basically what I felt after reading I do think it is

untimely. But in light of your ~- you know, your really close

or tight schedule here, you know, that ' s a factor. But I would
be willing to grant you the two depositions of Mayor Morrissey

and Lipinski.

But as for Jesse Jackson and what -- what you are
saying in your papers is that he has been very vocal about
this, when now you're saying that he had something to do with
it. But I don't think that -- you know, that's not going to
be ~- it is pretty tangential. We have -- remember we have two
days for this hearing

MS. LIGHTFOOT: Understood, your Honor.

TI-]E COURT: SO --

MS. LIGHI‘FOOT: Well, your motion --

MR. BRUCE: Al'ld the --

TI~IE§ COURT: Your motion is granted as to two, and

denied as to Congressman Jackson.

MS. LIGHTFOOT: Actually it would be opposite -- the
other wa -- -

MR. BRUCE= I just ~-

MS. LIGHTFOOT: -- around, your Honor.

THE COURT: Sorry?

MS. LIGHI‘FOOT: It is their motion to quash --

THE COUR’I‘; Oh, right. Right.

MR. BRUCE: Okay. Can I get a couple points of

 

 

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clarification? I just want to make sure Ms. Lightfoot and that
-- the plaintiffs's team is not going to be doing this
anymore. They are not issuing --

THE COURT: Okay.

MR. BRUCE: -~ anymore subpoenas, and -- number one.

And, number two, is I want to be clear that --
something that she said really troubled me. I want to be clear
that they are not going to be disclosing, either trying to
throw subpoenas out for people that have not been identified in
answers to interrogatories or they are coming up with new names
of people, because that would be highly prejudicial.

THE COURT: Okay. The ground rule is that you

can't -- you can't name new witnesses and just subpoena them is

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for court without a deposition.

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MS. LIGHTFOOT: Your Honor, you're going to --

THE OOURT: Okay. We have to stop at some point
because this is going`to be a huge amount of material. 6

I have already told -~ we have told.you that we don't
think these witnesses are going make a heck of a lot of
difference. I mean, maybe we're wrong, but that's three judges
who have talked about this and feel that way.

So, you know, you could go on and on and on on this,
but --

MS. LIGHTFOOT: So you're -- in other words, you're

going to -- you're telling us that if, for example, we have a

 

 

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witness that has given us information, that we are precluded
from including an affidavit in our permanent injunction motion
from that witness?

Your Honor, given that the scheduling order says that
witnesses have to be disclosed by November 7th, that's the --
that ' s the ~-

THE COUR'I‘: Well --

MR. BRUCE: Your Honor --

MS. LIGHI‘FOOT: -- date that we have been operating
under.

MR. ROSENBLATI': Your Honor, we asked in interrogatory
for that information, If they had that information, they
should have turned it over. And if they are going to now use a
statement without allowing us any opportunity to do discovery
on --

MR. BRUCE: Shocking.

THEI COUR'I‘: I don't know what your -- I don't know

 

whit your plan was when lou said disclose witnesses by November
7th. I would assume that -- I mean, typically that means you_ W
ha`ve already done the depositions and you have pared down Bo
the people are that you're going call --

MR. BRUCE: Absolutely.

TI-]E COURT: -- from the discovery you have had.

All right. I'm out of time, so --

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MR. ROSENBLATT: Thank you, your Honor.

 

 

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MR. BRUCE: rIhank you, your Honor, We appreciate your
time.

MS. LIGHTFOO'I‘: Well, we'll come in on a motion and
revisit this issue, your Honor.

'I‘HE COURT: All right.

(Which concluded the proceedings in the above-entitled
matter.)
CERTIFICATE

I HEREBY CELRTIEY that the foregoing is a true, correct

and complete transcript of the proceedings had at the hearing

of the aforementioned cause on the day and date hereof.

/s/Pama/ a S \/Mrren October 21+_2011
Official Court Reporter Date
United States District Court

8 Northern District of Illinois

Eastern Division

 

 

